    Case 1:21-cv-00042 Document 1-1 Filed on 03/25/21 in TXSD Page 1 of 18




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS

JOSEFINA ROQUE AND PERLA
LEDEZMA, INDIVIDUALLY, A/N/F
SXXX RXXX, MINOR CHILD,                                 Cause No.
           Plaintiffs,
v.
VICTORIA’S SECRET STORES, LLC,
           Defendant.

                               INDEX OF MATTERS FILED

       Defendant, pursuant to Local Rule 81(5), respectfully submits the following documents

in connection with the removal of the above-styled and numbered action.

   1. A copy of the Case Summary (docket) sheet for the case styled Josefina Roque et al. v.
      Victoria’s Secret Stores, LLC, Cause No. 2021-DCL-00985-I, in the District court for the
      445th Judicial District, Cameron County, Texas.

   2. A copy of Plaintiff’s Original Petition.

   3. A copy of the executed process (return of service) on Victoria’s Secret Stores, LLC.

   4. A copy of Defendant’s Original Answer.

   5. List of counsel of record.


                                                 Respectfully submitted,


                                                     /s/ Christopher L. Kurzner
                                                 Christopher L. Kurzner
                                                 State Bar No. 11769100
                                                 Kurzner PC
                                                 1700 Pacific Avenue, Suite 1870
                                                 Dallas, Texas 75201
                                                 Telephone: 214-442-0800
                                                 Telecopier: 214-442-0850
                                                 ckurzner@kurzner.com

                                                 Attorney for Defendant Victoria’s Secret Stores,
                                                 LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2021, I electronically transmitted the foregoing

document to the Clerk of the Court using the CM/ECF System for filing and transmittal to all

counsel of record by U.S. Mail, postage prepaid, as follows:

       Jorge A. Green
       Leticia Garza
       David M. Roerig
       THE GREEN LAW FIRM, P.C.
       34 S. Coria St.
       Brownsville, Texas 78520.
                                            /s/ Christopher L. Kurzner
                                            ___________________________________
                                            Christopher L. Kurzner




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                                                                 Page    5 of 185:05 PM
                                                                     - 2/18/2021
                                                                          2021-DCL-00985 / 50706028
                                                                          LAURA PEREZ-REYES
                                                                          Cameron County Distrint Clerk
                                                                          By Chrittina Chavez Deputy Clerk
                                        2021-DCL-00985
                          CAUSE NO.

JOSEFINA ROQUE AND PERLA                                  IN THE DISTRICT COURT
LEDEZMA,INDIVIDUALLY,A/N/F
SXXX RXXX, MINOR CHILD                                 Cameron County - 445th District Court
     PLAINTIFFS,

VS.                                                                JUDICIAL DISTRICT

VICTORIA'S SECRET STORES,LLC
     DEFENDANT                                            CAMERON COUNTY,TEXAS


                          PLAINTIFFS'ORIGINAL PETITION


To The Honorable Judge of This Court:

       Come Now Plaintiffs, Josefina Roque and Perla Ledezma, Individually, an as Next

Friend of SXXX RXXX,complaining of Defendant Victoria's Secret Stores, LLC, and for

causes of action file this Plaintiffs OriginalPetition. In support,Plaintiff would respectfully

show the Court the following:

                   A. TRCP 47 Disclosure and Discovery Control Plan

       1.1    Plaintiffs seek monetary relief of $250,000.00 or less. Tex.R.Civ.P. 47. More

specifically, Plaintiffs seek monetary relief not to exceed $75,000.00.

       1.2    Plaintiffs intend to conduct discovery under Level 1 of the Tex. R. Civ. P., as

provided for in Tex. R. Civ. P. 169 for expedited actions.

                                   B.Parties and Service

       2.1    Plaintiffs are individuals residing in Los Fresnos, Cameron County, Texas.

       2.2    Defendant Victoria's Secret Stores, LLC is a foreign corporation registered

with the Texas Secretary of State to do business in Texas. Defendant may be served with
     Case 1:21-cv-00042 Document 1-1 Filed on 03/25/21 in TXSD Page 6 of 18



process by serving its registered agent,CT Corporation System at1999 Bryan St.,Suite 900,

Dallas,Texas 75201.Plaintiffs request citation at this time and will serve Defendantthrough

a private civil process server.

                                  C. Venue and jurisdiction

       3.1    This Court has subject matter jurisdiction over this action because Plaintiffs

seek unliquidated damages in an amount within this Court's jurisdictional limits.

       3.2    Venue is proper in Cameron County, Texas, under Texas Civil Practice and

Remedies Code §15.002(a)(1) because all or a substantial part of the events or omissions

giving rise to Plaintiffs' cause of action occurred in Brownsville, Cameron County,Texas.

                                          D. Facts

      6.      On or about November 17,2019,Plaintiffs suffered injuries when they slipped

and fell on lotion that was on the floor of the Victoria's Secret Store located inside the

Sunrise Mall in Brownsville, Texas.

                                     E. Causes of Action

                             Count One - Premises Liability

      7.      At all times material hereto, Defendant was the owner and/or possessor

and/or operator of Victoria's Secret Store where Plaintiffs' incident occurred.

      8.      Defendant,its agents and its employees knew or should have known of the

unreasonably dangerous condition.Despite such knowledge,Defendant and its agents and

employees, negligently failed to warn Plaintiffs of the condition at the premises, or to

otherwise make the premises safe. This condition existed despite the fact that Defendant,
     Case 1:21-cv-00042 Document 1-1 Filed on 03/25/21 in TXSD Page 7 of 18



its agents,and employees knew or should have known of the existence of the condition and

that there was likelihood of a person being injured, as occurred to Plaintiffs.

       9.       At all times relevant,Defendant,and its agents,servants,and employees who

were acting in the scope of their employment, were guilty of negligent conduct toward

Plaintiff in:

                a)     Failing to maintain the premises in reasonably safe condition;

                b)     Failing to give adequate and understandable warnings to Plaintiffs

                       regarding the unsafe condition of the premises;

       10.      Plaintiffs were invitees on the premises at the time of their injuries and other

damages. At the time of the injury(1)a condition of the premises created an unreasonable

risk of harm to the invitee; (2) the owner and/or possessor and/or operator knew or

reasonably should have known of the condition; (3) owner and/or possessor and/or

operator failed to exercise ordinary care to protect the inviteefrom danger;and(4)owner's

and/or possessor's and/or operator's failure was a proximate cause of the injury to the

invitee

                                             Prayer

       15.      Wherefore, premises considered, Plaintiffs respectfully pray that Defendant be

cited to appear and answer,and that they ultimately havejudgment against Defendantfor

the following:

                a.     Physical pain in the past and future;

                b.     Mental anguish in the past and future;

                c.     Physical impairment in the past and future;
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       d.    Physical disfigurement in the past and future;

       e.    Medical expenses in the past and future;

       f.    Costs of suit;

       g.    Pre-judgment and post-judgment interest; and

       h.    All other relief, in law and in equity, to which Plaintiffs may be

             entitled.

                                  Respectfully submitted,

                                 THE GREEN LAW FIRM,P.C.
                                 34 S. Coria St.
                                 Brownsville, Texas 78520
                                (956)542-7000 Tel.
                                (956)542-7026 Fax

                                 By:/s/ Jorge- A.
                                      JORGE A. GREEN
                                      State Bar No. 24038023
                                      jorge@thegreenlawfirm.CQM
                                      LETICIA GARZA
                                      State Bar No.24092405
                                      lety@thegreenlawfirm.com
                                      DAVID M.ROERIG
                                      State Bar No.24060513
                                      david@thegreenlawfirm.com

                                 ATTORNEYS FOR PLAINTIFFS
           Case 1:21-cv-00042 Document 1-1 Filed on 03/25/21 in TXSDFILED
                                                                       Page   9 of 18
                                                                          - 3/3/2021 2:01 PM
                                                                                2021-DCL-00985 / 51118322
                             CITATION – PERSONAL SERVICE – TRCP 99              LAURA PEREZ-REYES
                                                                                Cameron County District Clerk
                                                                                By Vilma Garcia Deputy Clerk
                                   THE STATE OF TEXAS

                                       2021-DCL-00985-I

 Josefina Roque                                      §      IN THE 445TH DISTRICT COURT
 VS                                                  §      OF
 Victoria's Secret Stores, LLC                       §      CAMERON COUNTY, TEXAS

TO      Victoria's Secret Stores, LLC
        Registered Agent CT Corporation System
        1999 Bryan St Suite 900
        Dallas TX 75201

NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your
attorney do not file a written answer with the clerk who issued this citation by 10:00 a.m. on the
Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against you. In addition to filing a written answer with
the clerk, you may be required to make initial disclosures to the other parties of this suit. These
disclosures generally must be made no later than 30 days after you file your answer with the clerk.
Find out more at TexasLawHelp.org." TRCP. 99

You are hereby commanded to appear by filing a written answer to Plaintiff Original Petition at or before
10:00 o'clock A.M. on the Monday next after the expiration of 20 days after the date of service of this
citation before the Honorable 445th District Court of Cameron County, at the Courthouse in said County in
Brownsville, Texas. Said Plaintiff Original Petition was filed in said court on February 18, 2021, in the
above entitled cause.

2021-DCL-00985-I                                         Josefina Roque, Perla Ledezma, SXXX RXXX vs.
                                                         Victoria's Secret Stores, LLC

The nature of Petitioner's demand is fully shown by a true and correct copy of Plaintiff Original Petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements of law, and the
mandates thereof, and make due return as the law directs.

Issued and given under my hand and seal of said Court at Brownsville, Texas, on this the 22nd day of
February, 2021.

ATTORNEY:                                            Laura Perez-Reyes
JORGE A. GREEN                                       District Clerk of Cameron County
24038023                                             974 E Harrison St.
(956) 542-7000                                       Brownsville,        Texas 78520
                                                            Signed: 2/22/2021 9:29:26 AM
34 S Coria St
Brownsville TX 78520
                                                     By:________________________________________
                                                     Christina Chavez, Deputy Clerk


                       **AFFIDAVIT OF SERVICE ATTACHED**
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                    2021-DCL-00985-I                               Josefina Roque, Perla Ledezma, SXXX RXXX vs.
                   445th District Court                                     Victoria's Secret Stores, LLC

                                                     RETURN OF SERVICE
Executed when copy is delivered:
This is a true copy of the original citation, was delivered to defendant _____________________, on the _____ day of
____________________, 20__________.

          NAME/ADDRESS FOR SERVICE                             ____________________________________Officer
_________________________________________                      ________________________________County, TX
_________________________________________
_________________________________________
_________________________________________                      By:_________________________________Deputy




                                                   OFFICERS RETURN

Came to hand on the _____ day of ____________________, at _____o’clock ___m and _____________ County, Texas,
by delivering to each of the within named defendants in person, a true copy of this _________________________ with
the date of delivery endorsed thereon, together with the accompanying copy of the ___________________________ at
the following times and places, to wit:
NAME                                      DATE/TIME                     PLACE/COURSE/DISTANCE FROM COURTHOUSE

And not executed as to the defendant(s),____________________________________________________
The diligence used in finding said defendant(s) being:
____________________________________________________________________________________
and the cause or failure to execute this process is:
____________________________________________________________________________________
and the information received as to the whereabouts of said defendant(s) being:
____________________________________________________________________________________

FEES:                                                          ____________________________________Officer
SERVING PETITION/COPY $___________                             ________________________________County, TX
TOTAL:                $___________
                                                               By:_________________________________Deputy

                                                               _________________________________________
                                                                                   AFFIANT


     COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the
return. The signature is not required to be verified. If the return is signed by a person other than a sheriff, constable or
the clerk of the court, the return shall be signed under penalty or perjury and contain the following statement:
“My name is _______________________________, my date of birth is _______________, my address is
____________________________________________________________________________________
I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
EXECUTED in ________________ County, State of __________, on the _____ day of ___________________. 20_____.

_________________________________________                      _________________________________________
ID Number/Expiration of Certification                          Declarant/Authorized Process Server




                          **AFFIDAVIT OF SERVICE ATTACHED**
                 Case 1:21-cv-00042 Document 1-1 Filed on 03/25/21 in TXSD Page 11 of 18
                                                                  AFFIDAVIT OF SERVICE


                                                                      CAUSE NO: 2021-DCL-00985-!


 JOSEFINA ROQUE,                                                                                                 IN THE DISTRICT COURT
          Plaintiff,

 Vs.                                                                                                            445TH JUDICIAL DISTRICT

 VICTORIA'S SECRET STORES, LLC,
         Defendant,                                                                                            CAMERON COUNTY, TEXAS



Documents:       CITATION AND PLAINTIFF'S ORIGINAL PETITION


I, Gean 0. Smith, received the above documents on:                      FEBRUARY 22. 2021          at _ _ """5_,__:0""'0~---'-P"".M=. to be delivered to:


VICTORIA'S SECRET STORES, LLC
REGISTERED AGENT, CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS, TEXAS 75201


 I,      GEAN 0. SMITH                                   , the undersigned, being duly sworn, depose and say, that I am duly authorized
under Rule 103 and 536(a) to make delivery of the document(s) listed herein in the above styled case. I am over the age of 18, and am
not a party to or otherwise interested in this matter. Delivery of said documents occurred in the following manner:

By delivering to: VICTORIA'S SECRET STORES, LLC.• BY AND THROUGH TERRI THONGSAVAt (white female, age 38, 5'6"
tall, 150 lbs. brown hair

(Title/ Relationship):           INTAKE ASSOCIATE FOR REGISTERED AGENT, CT CORPORATION SYSTEM

Address of Service:            1999 BRYAN STREET. SUITE 900. DALLAS. TEXAS 75201. CDALLAS COUNTY, TEXAS)

Date of Service:._....:...F=E=B._R.::U__
                                      A~R...,Y-=2=3=1-=2""0_21______ _ _ _ Time of Service: _ _ _____,1'""0..,__:5'--"5'"'A-'-'-"'M=·~----        - - --    -

Type of Service:

    0     PERSONAL SERVICE: Individually and personally to the above named recipient.

          SUBSTITUTE SERVICE: By leaving a true copy of said process with a person therein, who is of suitable age, at the above
    □     listed address, which is the usual place of abode or dwelling house of the above named person.

    II CORPORATION      / PARTNERSHIP: By delivering a true copy of said process to an officer, registered agent, partner or
       anyone available to accept service for the above named entity whose name and title is listed above.


    □     POSTING WITH COURT ORDER: By posting a true copy of said process along with a true copy of the Court Order with the
          date of service endorsed thereon by me, to the front entrance of the above listed address of service, which is the usual place
          of abode or dwelling house of the above named person, in compliance with state statues and per Rule 106 Order.

    □                "I declare under penalties of perjury that the information contained herein is true and correct"


Signature
GEAN 0. SMITH                  PSC# 4683
Authorized Person              Exp: 01/31/2022



                                       /~?:f!fi:..._
                                      t{ 'R,_ }j
                                                                SHIRLEY NELL MCCLELLAN
                                                                  My Notary ID# 6985122
                                                                                             .1.
                                     _ '-:'.-;,_.;,,,-;~;-".:-~ Expires September 21, 2021
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                                                                           2021-DCL-00985 / 51660880
                                                                           LAURA PEREZ-REYES
                                                                           Cameron County District Clerk
                                                                           By Vilma Garcia Deputy Clerk
                                    Cause No. 2021-DCL-00985

JOSEFINA ROQUE AND PERLA LEDEZMA,                      §      IN THE DISTRICT COURT
INDIVIDUALLY & a/n/f SXXX RXXX,                        §
MINOR CHILD,                                           §
                                                       §
               Plaintiffs,                             §
                                                       §
v.                                                     §      CAMERON COUNTY, TEXAS
                                                       §
VICTORIA’S SECRET STORES, LLC,                         §
                                                       §
                                                       §
                                                       §
               Defendant.                              §      445th JUDICIAL DISTRICT

                             ORIGINAL ANSWER OF DEFENDANT
                              VICTORIA’S SECRET STORES, LLC

       Defendant Victoria’s Secret Stores, LLC (“Defendant” or “VSS”) through the

undersigned counsel, answers Plaintiffs’ Original Petition:

                                    I.     GENERAL DENIAL

       Pursuant to Tex. R. Civ. P. 92, Defendant denies generally each and all of the allegations

contained in Plaintiffs’ Original Petition, demands strict proof thereof by preponderance of the

evidence, and of this general denial prays judgment of the Court.

                              II.        AFFIRMATIVE DEFENSES

       1.      Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense, Defendant alleges that Plaintiffs purported damages, if any, are

barred or limited in whole or in part by Plaintiffs’ own negligence pursuant to the provisions of

Chapter 33, Tex. Civ. Prac. & Rem. Code.

       2.      Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense to the extent such pleading may be necessary, Defendant hereby

requests that the relative damages and conduct of all parties and all tortfeasors, including




DEFENDANT’S ORIGINAL ANSWER                                                               Page 1
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Plaintiffs, Defendant, and any designated responsible third parties be considered, and that

Defendant be accorded the full benefit of Chapter 33, Tex. Civ. Prac. & Rem. Code, including

proportionate responsibility and contribution.

       3.      Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense, Defendant alleges that the injuries/damages, if any, allegedly

suffered by Plaintiffs were directly and proximately caused in whole or part by Plaintiffs’ own

negligence and/or negligence per se, which negligence and/or negligence per se was greater than

any negligence of Defendant, and thus any recovery by Plaintiffs is barred.

       4.      Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense, Defendant alleges that Plaintiffs’ purported damages, if any,

were caused in whole or in part by third parties or forces over whom Defendant had no control.

       5.      Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense, Defendant alleges that Plaintiffs failed to mitigate their damages

by not using ordinary care to reduce or avoid their damages, and that such failure to mitigate

resulted in additional and unnecessary damages.

       6.      Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense, Defendant alleges that Plaintiffs assumed the risk of the

activities in which Plaintiffs were engaged and therefore, Plaintiffs cannot recover from

Defendant.

       7.      Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense to the extent such pleading may be necessary, Defendant hereby

asserts that Plaintiffs’ claims are barred or limited by the doctrine of equitable or judicial

estoppel.




DEFENDANT’S ORIGINAL ANSWER                                                                Page 2
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       8.      Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense to the extent such pleading may be necessary, Defendant had no

notice, actual or constructive, as to the alleged condition that Plaintiffs have alleged caused them

to suffer injuries and damages.

       9.      Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense, Defendant alleges that Plaintiffs’ claims are barred by the open

and obvious doctrine.

       10.     Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense to the extent such pleading may be necessary, Plaintiffs’ “right”

to recover billed medical expenses is limited by the provisions of Tex. Civ. Prac. & Rem. Code §

41.0105 to the amount actually paid or incurred by or on behalf of the Plaintiffs.

       11.     Subject to and without waiving the foregoing General Denial and by way of a

separate or affirmative defense, Defendant alleges that if Plaintiffs are suffering from any

physical or mental condition or disability at the present time, or after the incident made the basis

of this suit, that such condition or disability was solely caused by accidents, injuries, diseases, or

disorders that were preexisting or that arose subsequent to the time of the alleged incident made

the basis of this suit and are wholly unconnected with the incident made the basis of this suit, or

that such conditions or disabilities were partially caused by such preexisting or subsequent

accidents.

       12.     To the extent Plaintiffs seek damages for any alleged disability or incapacity as a

result of the incident made the basis of this suit, then the disability or incapacity is temporary

only and not permanent, and partial only and not total, and that Plaintiffs’ earning capacity have




DEFENDANT’S ORIGINAL ANSWER                                                                   Page 3
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not been reduced or impaired as a result of the alleged injury and/or any disability or incapacity

resulting therefrom.

       13.     To the extent Plaintiffs seek damages for alleged loss of earnings, loss of earning

capacity, loss of contributions of a pecuniary value, or loss of inheritance, Plaintiffs must under

Texas Civil Practice and Remedies Code, Section 18.091 present such evidence to prove such

loss in the form of a net loss after reduction for income tax payments or unpaid tax liability

pursuant to any federal income tax law. The Court is also required to, and Defendant specifically

requests the Court to, instruct the jury (if a jury is demanded) that such damages sought by

Plaintiff are subject to federal or state income taxes.

       14.     Any award of pre-judgment or post-judgment interest is limited by Texas Civil

Practice and Remedies Code, Section 41.007 and the Texas Finance code generally.

       15.     In the unlikely event Plaintiffs obtain a damage finding against Defendant on

multiple causes of action against it, Plaintiffs are prohibited from obtaining a double recovery

and must make an election.

             III.      NOTICE OF INTENT TO USE PRODUCED MATERIALS

       16.     Defendant gives notice to all parties that any and all documents produced during

discovery may be offered against the producing party at any pre-trial proceeding and/or trial of

this case, unless objections based on authenticity are timely made. This notice is given pursuant

to Rule 193.7 of the Texas Rules of Civil Procedure.

       WHEREFORE, Defendant respectfully requests that upon final trial and hearing, the

Court enter judgment that Plaintiffs take nothing by reason of their claims, that Defendant be

discharged and recover its costs and such other and further relief, both at law and in equity, to

which Defendant may be justly entitled.




DEFENDANT’S ORIGINAL ANSWER                                                                Page 4
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                                                Respectfully submitted,

                                                KURZNER PC


                                                By:           /s/ Christopher L. Kurzner
                                                      Christopher L. Kurzner
                                                      State Bar No. 11769100
                                                      1700 Pacific Avenue, Suite 1870
                                                      Dallas, Texas 75201
                                                      Telephone: 214-442-0800
                                                      Telecopier: 214-442-0850
                                                      ckurzner@kurzner.com

                                                COUNSEL FOR DEFENDANT
                                                VICTORIA’S SECRET STORES, LLC.



                               CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing instrument to be

served on Plaintiff via the Court’s electronic case filing system or as may be otherwise provided

under the Texas Rules of Civil Procedure on this the 19th day of March, 2021.


                                                      /s/ Christopher L. Kurzner




DEFENDANT’S ORIGINAL ANSWER                                                                Page 5
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS

JOSEFINA ROQUE AND PERLA
LEDEZMA, INDIVIDUALLY, A/N/F
SXXX RXXX, MINOR CHILD,
           Plaintiffs,
v.
VICTORIA’S SECRET STORES, LLC,
           Defendant.

                             LIST OF COUNSEL OF RECORD

       Defendant, pursuant to Local Rule 81(6), respectfully submits the following list of

counsel of record.

Jorge A. Green
Leticia Garza
David M. Roerig                                 Christopher L. Kurzner
THE GREEN LAW FIRM, P.C.                        Kurzner PC
34 S. Coria St.                                 1700 Pacific Avenue, Suite 1870
Brownsville, Texas 78520                        Dallas, Texas 75201
(956) 542-7000 Tel.                             Telephone: 214-442-0800
(956) 542-7026 Fax                              Telecopier: 214-442-0850

Counsel for Plaintiffs                          Counsel for Defendant



                                             Respectfully submitted,


                                                 /s/ Christopher L. Kurzner
                                             Christopher L. Kurzner
                                             State Bar No. 11769100
                                             Kurzner PC
                                             1700 Pacific Avenue, Suite 1870
                                             Dallas, Texas 75201
                                             Telephone: 214-442-0800
                                             Telecopier: 214-442-0850
                                             ckurzner@kurzner.com

                                             Attorney for Defendant Victoria’s Secret Stores,
                                             LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2021, I electronically transmitted the foregoing

document to the Clerk of the Court using the CM/ECF System for filing and transmittal to all

counsel of record by U.S. Mail, postage prepaid, as follows:

       Jorge A. Green
       Leticia Garza
       David M. Roerig
       THE GREEN LAW FIRM, P.C.
       34 S. Coria St.
       Brownsville, Texas 78520.
                                            /s/ Christopher L. Kurzner
                                            ___________________________________
                                            Christopher L. Kurzner




                                                2
